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           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

STEVEN HASTINGS
ADC #171672                                                  PLAINTIFF

v.                      No. 3:21-cv-169-DPM

ROY AGEE, Act 309 Coordinator,
Classification Director, Arkansas
Division of Correction; ANGELA WEST,
Mail Room Coordinator, Pine Bluff Unit;
VICKEYHAYCOX; HEATHER
BRIDGES; and JANICE MINOR                              DEFENDANTS

                               ORDER
     The   Court   adopts    Magistrate Judge      Ervin's    unopposed
recommendation.     Doc. 16.    Hastings's remaining claim will be
dismissed without prejudice.
     So Ordered.



                                                   V
                                 D .P. Marshall Jr.
                                 United States District Judge
